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                                      ANEXO A

Relación de reclamaciones objeto de la Tricentésima cuadragésima séptima objeción global
                                    Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                    Tricentésima Cuadragésima Séptima Objeción Global
                                                           Anexo A: Reclamos a ser reclasificados
                                                                                      ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                           RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                           ACIÓN
1   ACEVEDO GONZALEZ, BERNARDO             28223        El Estado Libre Asociado de       503(b)(9)                 $158,400.00 El Estado Libre Asociado de          No Garantizada           $158,400.00
    COND. SARDINES ALTAMESA                             Puerto Rico                                                             Puerto Rico
    GARDEN
    C/SAN IGNACIO APT A-17 3ERP                         El Estado Libre Asociado de       Garantizada               $158,400.00
    SAN JUAN, PR 00921                                  Puerto Rico
                                                        El Estado Libre Asociado de       No Garantizada            $158,400.00
                                                        Puerto Rico
                                                                                          Subtotal                  $475,200.00

    Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
    y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
    $158.400,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $158.400,00.
2   AGOSTO CARRASQUILLO, LISA M.           29978        El Estado Libre Asociado de       503(b)(9)                 $112,800.00 El Estado Libre Asociado de          No Garantizada           $112,800.00
    URB. PONCE DE LEON 285 C/23                         Puerto Rico                                                             Puerto Rico
    GUAYNABO, PR 00969
                                                        El Estado Libre Asociado de       Garantizada               $112,800.00
                                                        Puerto Rico
                                                        El Estado Libre Asociado de       No Garantizada            $112,800.00
                                                        Puerto Rico
                                                                                          Subtotal                  $338,400.00

    Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
    y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
    $112.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $112.800,00.
3   ALGARIN ORTIZ, OLGA IRIS               109157       El Estado Libre Asociado de       Garantizada                $60,000.00 El Estado Libre Asociado de          No Garantizada             $60,000.00
    #33 CALLE ETIOPE                                    Puerto Rico                                                             Puerto Rico
    URB. HACIENDA PALOMA I
    LUQUILLO, PR 00773                                  El Estado Libre Asociado de       No Garantizada             $60,000.00
                                                        Puerto Rico
                                                                                          Subtotal                  $120,000.00

    Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado. Además, el demandante reclamó un monto total de $60.000,00. Por tal motivo, el reclamo se
    reclasificó en su totalidad como un reclamo general no garantizado de $60.000,00.




    * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                      Página 1 de 57
                                    Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                  Exhibit A Page 3 of 58
                                                    Tricentésima Cuadragésima Séptima Objeción Global
                                                           Anexo A: Reclamos a ser reclasificados
                                                                                      ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                           RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                           ACIÓN
4   ALICEA FIGUEROA, FELIX B               39346        El Estado Libre Asociado de       503(b)(9)                 $30,000.00* El Estado Libre Asociado de          No Garantizada           $30,000.00*
    HC 65 BOX 6361                                      Puerto Rico                                                             Puerto Rico
    PATILLAS, PR 00723
                                                        El Estado Libre Asociado de       Garantizada               $30,000.00*
                                                        Puerto Rico
                                                        El Estado Libre Asociado de       No Garantizada            $30,000.00*
                                                        Puerto Rico
                                                                                          Subtotal                  $90,000.00*

    Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
    y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
    $30.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $30.000,00.
5   ARROYO ALEMÁN, MILTON I                93120        El Estado Libre Asociado de       503(b)(9)              Indeterminado* El Estado Libre Asociado de          No Garantizada           $57,600.00*
    HC 61 BOX 4280                                      Puerto Rico                                                             Puerto Rico
    TRUJILLO ALTO, PR 00976
                                                        El Estado Libre Asociado de       Garantizada               $57,600.00*
                                                        Puerto Rico
                                                        El Estado Libre Asociado de       No Garantizada            $57,600.00*
                                                        Puerto Rico
                                                                                          Subtotal                 $115,200.00*

    Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
    y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
    $57.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $57.600,00.
6   ATANACIO BILBRAUT, IVELISSE            98152        Sistema de Retiro de los        503(b)(9)                    $31,200.00 Sistema de Retiro de los        No Garantizada                  $35,000.00
    AO-28 59 ST REXVILLE                                Empleados del Gobierno del                                              Empleados del Gobierno del
    BAYAMON, PR 00956                                   Estado Libre Asociado de Puerto                                         Estado Libre Asociado de Puerto
                                                        Rico                                                                    Rico
                                                        Sistema de Retiro de los        Garantizada                  $35,000.00
                                                        Empleados del Gobierno del
                                                        Estado Libre Asociado de Puerto
                                                        Rico
                                                                                          Subtotal                   $66,200.00

    Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
    y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
    $35.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $35.000,00.




    * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                      Página 2 de 57
                                    Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                  Exhibit A Page 4 of 58
                                                    Tricentésima Cuadragésima Séptima Objeción Global
                                                           Anexo A: Reclamos a ser reclasificados
                                                                                      ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                           RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                           ACIÓN
7   AYALA CARRASQUILLO, JOSSIE M.          22975        El Estado Libre Asociado de       503(b)(9)                 $177,600.00 El Estado Libre Asociado de          No Garantizada           $177,600.00
    URBANIZACION EDUARDO J.                             Puerto Rico                                                             Puerto Rico
    SALDANA
    CALLE ISLA VERDE E-16                               El Estado Libre Asociado de       Garantizada               $177,600.00
    CAROLINA, PR 00983                                  Puerto Rico
                                                                                          Subtotal                  $355,200.00

    Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
    y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
    $177.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $177.600,00.
8   BARBOSA RIOS, IRMA E.                  98711^       El Estado Libre Asociado de       503(b)(9)                $180,000.00* El Estado Libre Asociado de          No Garantizada          $180,000.00*
    URB PRECIOSA                                        Puerto Rico                                                             Puerto Rico
    2 CALLE VERDE LUZ
    GURABO, PR 00778-5163                               El Estado Libre Asociado de       Garantizada              $180,000.00*
                                                        Puerto Rico
                                                                                          Subtotal                 $360,000.00*

    Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
    y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
    $180.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $180.000,00.
    ^ Reclamo n°. 98711 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

9   BITTMAN DIEZ, CARL X                   27217^       El Estado Libre Asociado de       503(b)(9)                 $100,800.00 El Estado Libre Asociado de          No Garantizada           $100,800.00
    HC 5 BOX 54591                                      Puerto Rico                                                             Puerto Rico
    AGUADILLA, PR 00603
                                                        El Estado Libre Asociado de       Garantizada               $100,800.00
                                                        Puerto Rico
                                                        El Estado Libre Asociado de       No Garantizada            $100,800.00
                                                        Puerto Rico
                                                                                          Subtotal                  $302,400.00

    Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
    y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
    $100.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.800,00.
    ^ Reclamo n°. 27217 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




    * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                      Página 3 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                 Exhibit A Page 5 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
10 BLANCO NUNEZ, IRAIDA                   59464        El Estado Libre Asociado de       503(b)(9)                  $96,600.00 El Estado Libre Asociado de          No Garantizada             $96,600.00
   P O BOX 3281                                        Puerto Rico                                                             Puerto Rico
   RIO GRANDE, PR 00745
                                                       El Estado Libre Asociado de       Garantizada                $96,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $96,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $289,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $96.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $96.600,00.
11 BONILLA RIVERA, MARGARITA              151698       El Estado Libre Asociado de       503(b)(9)                  $79,200.00 El Estado Libre Asociado de          No Garantizada             $79,200.00
   455 C/SICILIA E-80 RES. MANUEL A.                   Puerto Rico                                                             Puerto Rico
   PEREZ
   SAN JUAN, PR 00523                                  El Estado Libre Asociado de       Garantizada                $79,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $79,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $237,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $79.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $79.200,00.
12 BORRERO MALDONADO, IDALIZ              28522^       El Estado Libre Asociado de       503(b)(9)                 $208,800.00 El Estado Libre Asociado de          No Garantizada           $208,800.00
   URBANIZACION LA MARINA                              Puerto Rico                                                             Puerto Rico
   2 CALLE ERIDANO
   CAROLINA, PR 00979-4009                             El Estado Libre Asociado de       Garantizada               $208,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $417,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $208.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $208.800,00.
   ^ Reclamo n°. 28522 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 4 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
13 BRUNO BELARDO, MYRIAM I                33580        El Estado Libre Asociado de       503(b)(9)                 $240,000.00 El Estado Libre Asociado de          No Garantizada           $240,000.00
   RR 18 BOX 600                                       Puerto Rico                                                             Puerto Rico
   SAN JUAN, PR 00926-9238
                                                       El Estado Libre Asociado de       Garantizada               $240,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $480,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $240.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $240.000,00.
14 CABELLO ACOSTA, WILMARIE               31867        El Estado Libre Asociado de       503(b)(9)                  $8,781.33* El Estado Libre Asociado de          No Garantizada             $8,781.33*
   529 BLQ. 200 #10                                    Puerto Rico                                                             Puerto Rico
   VILLA CAROLINA
   CAROLINA, PR 00985                                  El Estado Libre Asociado de       Garantizada                $8,781.33*
                                                       Puerto Rico
                                                                                         Subtotal                  $17,562.66*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $8.781,33. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $8.781,33.
15 CABRERA MELENDEZ, ZULEMY E             23095        El Estado Libre Asociado de       503(b)(9)                 $115,200.00 El Estado Libre Asociado de          No Garantizada           $115,200.00
   EXTANCIAS CHALETS                                   Puerto Rico                                                             Puerto Rico
   193 C/ TORTOZA APT 30
   SAN JUAN, PR 00926                                  El Estado Libre Asociado de       Garantizada               $115,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $115,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $345,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $115.200,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $115.200,00.
16 CALDERON OLIVERO, NILSA                112748       El Estado Libre Asociado de       503(b)(9)                 $122,400.00 El Estado Libre Asociado de          No Garantizada           $122,400.00
   BO. CAMBALACHE HC 01                                Puerto Rico                                                             Puerto Rico
   BUZON 6312
   CANOVANAS, PR 00729                                 El Estado Libre Asociado de       Garantizada               $122,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $122,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $367,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $122.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $122.400,00.

   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 5 de 57
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                                                                 Exhibit A Page 7 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
17 CALDERON PEREIRA, BAIBARA              30234        El Estado Libre Asociado de       503(b)(9)                  $21,600.00 El Estado Libre Asociado de          No Garantizada             $21,600.00
   DEPARTAMENTO DE LA FAMILIA                          Puerto Rico                                                             Puerto Rico
   20 CALLE VERGEL
   APT. 3221                                           El Estado Libre Asociado de       Garantizada                $21,600.00
   CAISLIRA, PR 00987                                  Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $21,600.00
                                                       Puerto Rico
                                                                                         Subtotal                   $64,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $21.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $21.600,00.
18 CAMILO NIEVES, YESENIA                 21934        El Estado Libre Asociado de       503(b)(9)                 $122,400.00 El Estado Libre Asociado de          No Garantizada           $122,400.00
   VISTA DEL MAR                                       Puerto Rico                                                             Puerto Rico
   108 CALLE PALMERAS
   RIO GRANDE, PR 00745                                El Estado Libre Asociado de       Garantizada               $122,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $122,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $367,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $122.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $122.400,00.
19 CARTAGENA MARTINEZ, PEDRO J            20966        El Estado Libre Asociado de       503(b)(9)                 $118,800.00 El Estado Libre Asociado de          No Garantizada           $118,800.00
   500 AVE WEST MAIN                                   Puerto Rico                                                             Puerto Rico
   SUITE 126
   BAYAMON, PR 00961                                   El Estado Libre Asociado de       Garantizada               $118,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $118,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $356,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $118.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $118.800,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 6 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
20 CASTRO HIRALDO, BENJAMIN               29122        El Estado Libre Asociado de       503(b)(9)                 $209,400.00 El Estado Libre Asociado de          No Garantizada           $209,400.00
   C/ MIRLO #969                                       Puerto Rico                                                             Puerto Rico
   URB. COUNTRY CLUB
   RIO PIEDRAS, PR 00924                               El Estado Libre Asociado de       Garantizada               $209,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $209,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $628,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $209.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $209.400,00.
21 CASTRO RODRIGUEZ, ELIZABETH            73510        El Estado Libre Asociado de       503(b)(9)                 $178,200.00 El Estado Libre Asociado de          No Garantizada           $178,200.00
   HC 01 BOX 11648                                     Puerto Rico                                                             Puerto Rico
   CAROLINA, PR 00987
                                                       El Estado Libre Asociado de       Garantizada               $178,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $178,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $534,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $178.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $178.200,00.
22 CAY MORALES, MARIA                     66935        El Estado Libre Asociado de       503(b)(9)                  $20,000.00 El Estado Libre Asociado de          No Garantizada             $20,000.00
   VILLA UNIVERSITARIA                                 Puerto Rico                                                             Puerto Rico
   R24 CALLE 24
   HUMACAO, PR 00791-4345                              El Estado Libre Asociado de       Garantizada                $20,000.00
                                                       Puerto Rico
                                                                                         Subtotal                   $40,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $20.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $20.000,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 7 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                 Exhibit A Page 9 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
23 CINTRON SANTOS, EDWIN A.               167842^      El Estado Libre Asociado de       503(b)(9)                  $86,400.00 El Estado Libre Asociado de          No Garantizada             $86,400.00
   HC-2 BOX 8597                                       Puerto Rico                                                             Puerto Rico
   YABUCOA, PR 00767
                                                       El Estado Libre Asociado de       Garantizada                $86,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $86,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $259,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $86.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $86.400,00.
   ^ Reclamo n°. 167842 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

24 CLASS VILLANUEVA, ANGEL                15036        El Estado Libre Asociado de       503(b)(9)                 $64,200.00* El Estado Libre Asociado de          No Garantizada           $64,200.00*
   RAFAEL                                              Puerto Rico                                                             Puerto Rico
   URB MOUNTAIN VIEW
   L 13 CALLE 8                                        El Estado Libre Asociado de       Garantizada               $64,200.00*
   CAROLINA, PR 00987                                  Puerto Rico
                                                                                         Subtotal                 $128,400.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $64.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $64.200,00.
25 CLAUDIO RODRIGUEZ, DEBORATH J 32185                 El Estado Libre Asociado de       503(b)(9)                 $158,400.00 El Estado Libre Asociado de          No Garantizada           $158,400.00
   3RA EXT URB SANTA ELENA                             Puerto Rico                                                             Puerto Rico
   166 CALLE MONTE ALVERNIA
   GUAYANILLA, PR 00656                                El Estado Libre Asociado de       Garantizada               $158,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $158,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $475,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $158.400,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $158.400,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 8 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
26 COLLAZO OTERO, MARIEL                  29492        El Estado Libre Asociado de       503(b)(9)                 $158,400.00 El Estado Libre Asociado de          No Garantizada           $158,400.00
   BALCONES DE SANTA MARIA                             Puerto Rico                                                             Puerto Rico
   1500 AVE SAN IGNACIO
   SUITE 26                                            El Estado Libre Asociado de       Garantizada               $158,400.00
   SAN JUAN, PR 00921                                  Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $158,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $475,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $158.400,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $158.400,00.
27 COLON AGOSTO, NATALIA                  27414        El Estado Libre Asociado de       503(b)(9)                 $165,600.00 El Estado Libre Asociado de          No Garantizada           $165,600.00
   PO BOX 550                                          Puerto Rico                                                             Puerto Rico
   CANOVANAS, PR 00729
                                                       El Estado Libre Asociado de       Garantizada               $165,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $165,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $496,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Asimismo, el demandante reclamó un monto total de
   $165.600,00. En consecuencia, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $165.600,00.
28 COLON ENCARNACION, MIGDALIA            23773        El Estado Libre Asociado de       503(b)(9)                 $211,200.00 El Estado Libre Asociado de          No Garantizada           $211,200.00
   CALLE SAGITARIO # 170                               Puerto Rico                                                             Puerto Rico
   BRISAS DE LOIZA
   CANOVANAS, PR 00729                                 El Estado Libre Asociado de       Garantizada               $211,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $211,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $633,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $211,200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $211.200,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 9 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
29 COLON SANES, JAHAYRA I.                113147       El Estado Libre Asociado de       503(b)(9)                  $21,600.00 El Estado Libre Asociado de          No Garantizada             $21,600.00
   HC 55 BOX 8254                                      Puerto Rico                                                             Puerto Rico
   CEIBA, PR 00735
                                                       El Estado Libre Asociado de       Garantizada                $21,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $21,600.00
                                                       Puerto Rico
                                                                                         Subtotal                   $64,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $21.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $21.600,00.
30 CORRALIZA RODRIGUEZ, CARMEN L 84542                 El Estado Libre Asociado de       503(b)(9)                 $348,625.80 El Estado Libre Asociado de          No Garantizada           $348,625.80
   PO BOX 193504                                       Puerto Rico                                                             Puerto Rico
   SAN JUAN, PR 00919-3504
                                                       El Estado Libre Asociado de       Garantizada               $348,625.80
                                                       Puerto Rico
                                                                                         Subtotal                  $697,251.60

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $348.625,80. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $348.625,80.
31 CORRES SOTO, MORAYMA                   26257^       El Estado Libre Asociado de       503(b)(9)                  $48,336.00 El Estado Libre Asociado de          No Garantizada             $48,336.00
   CONDO. PARQUE JULIANA APTO. 103                     Puerto Rico                                                             Puerto Rico
   EDIF. 100
   CAROLINA, PR 00987                                  El Estado Libre Asociado de       Garantizada                $48,336.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $48,336.00
                                                       Puerto Rico
                                                                                         Subtotal                  $145,008.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $48.336,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $48.336,00.
   ^ Reclamo n°. 26257 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 10 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
32 CORRES SOTO, MORAYMA                   44328        El Estado Libre Asociado de       503(b)(9)                $158,400.00* El Estado Libre Asociado de          No Garantizada          $158,400.00*
   CONDO. PARQUE JULIANA                               Puerto Rico                                                             Puerto Rico
   EDIF 100 APTO 103
   CAROLINA, PR 00987                                  El Estado Libre Asociado de       Garantizada              $158,400.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada           $158,400.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $475,200.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $158.400,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $158.400,00.
33 CRUZ CARLO, JOSE M                     28527^       El Estado Libre Asociado de       503(b)(9)                $127,200.00* El Estado Libre Asociado de          No Garantizada          $127,200.00*
   HC 66 BOX 10317                                     Puerto Rico                                                             Puerto Rico
   FAJARDO, PR 00738
                                                       El Estado Libre Asociado de       Garantizada              $127,200.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada           $127,200.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $381,600.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Asimismo, el demandante reclamó un monto total de
   $127.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $127.200,00.
   ^ Reclamo n°. 28527 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

34 CRUZ CARLO, JOSE M.                    31462^       El Estado Libre Asociado de       503(b)(9)                  $53,338.32 El Estado Libre Asociado de          No Garantizada             $53,338.32
   HC 66 BOX 10317                                     Puerto Rico                                                             Puerto Rico
   FAJARDO, PR 00738
                                                       El Estado Libre Asociado de       Garantizada                $53,338.32
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $53,338.32
                                                       Puerto Rico
                                                                                         Subtotal                  $160,014.96

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $53.338,32. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $53.338,32.
   ^ Reclamo n°. 31462 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 31462 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 11 de 57
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
35 CRUZ GUZMAN, TEODORO                   28289        Sistema de Retiro de los        503(b)(9)                  $100,000.00* Sistema de Retiro de los        No Garantizada               $100,000.00*
   URB VILLA MADRID                                    Empleados del Gobierno del                                              Empleados del Gobierno del
   G-IO CALLE 9                                        Estado Libre Asociado de Puerto                                         Estado Libre Asociado de Puerto
   COAMO, PR 00769
                                                       Rico                                                                    Rico
                                                       Sistema de Retiro de los        Garantizada                $100,000.00*
                                                       Empleados del Gobierno del
                                                       Estado Libre Asociado de Puerto
                                                       Rico
                                                       Sistema de Retiro de los        No Garantizada             $100,000.00*
                                                       Empleados del Gobierno del
                                                       Estado Libre Asociado de Puerto
                                                       Rico
                                                                                         Subtotal                 $300,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $100.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.000,00.
36 CRUZ GUZMAN, TEODORO                   47402        El Estado Libre Asociado de       503(b)(9)                $100,000.00* El Estado Libre Asociado de          No Garantizada          $100,000.00*
   URB VILLA MADRID                                    Puerto Rico                                                             Puerto Rico
   G-IO CALLE 9
   COAMO, PR 00769                                     El Estado Libre Asociado de       Garantizada              $100,000.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada           $100,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $300,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $100.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.000,00.
37 CRUZ MEDINA, VERONICA                  86988        El Estado Libre Asociado de       503(b)(9)                 $106,800.00 El Estado Libre Asociado de          No Garantizada           $106,800.00
   P O BOX 579                                         Puerto Rico                                                             Puerto Rico
   JUNCOS, PR 00777
                                                       El Estado Libre Asociado de       Garantizada               $106,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $106,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $320,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $106.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $106.800,00.



   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 12 de 57
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
38 CRUZ OTERO, DAISSY                     40741        El Estado Libre Asociado de       503(b)(9)                 $129,600.00 El Estado Libre Asociado de          No Garantizada           $129,600.00
   RR 11 BOX 6000 SUITE 110                            Puerto Rico                                                             Puerto Rico
   BO NUEVO
   BAYAMON, PR 00956                                   El Estado Libre Asociado de       Garantizada               $129,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $129,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $388,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $129.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $129.600,00.
39 DAVILA AYALA, NELIDA                   31939        El Estado Libre Asociado de       503(b)(9)                 $244,800.00 El Estado Libre Asociado de          No Garantizada           $244,800.00
   CALLE 16 50 1423                                    Puerto Rico                                                             Puerto Rico
   CAPARRA TERRACE
   SAN JUAN, PR 00921                                  El Estado Libre Asociado de       Garantizada               $244,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $244,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $734,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $244.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $244.800,00.
40 DE JESUS GONZALEZ, BETSY               82743^       El Estado Libre Asociado de       503(b)(9)                 $108,000.00 El Estado Libre Asociado de          No Garantizada           $108,000.00
   HC 06 BOX 70057                                     Puerto Rico                                                             Puerto Rico
   CAGUAS, PR 00727
                                                       El Estado Libre Asociado de       Garantizada               $108,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $108,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $324,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $108.000,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $108.000,00.
   ^ Reclamo n°. 82743 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 13 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                 Exhibit A Page 15 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
41 DIAZ DEBIEN, MARIPROVI                 56802        El Estado Libre Asociado de       503(b)(9)                  $21,000.00 El Estado Libre Asociado de          No Garantizada             $21,000.00
   URBANIZACION FAIR VIEW #1928                        Puerto Rico                                                             Puerto Rico
   CALLE FRANCISCO ZUÑIGA
   SAN JUAN, PR 00926                                  El Estado Libre Asociado de       Garantizada                $21,200.00
                                                       Puerto Rico
                                                                                         Subtotal                   $42,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $21.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $21.000,00.
42 DIAZ MORALES, AZLIN                    64729^       El Estado Libre Asociado de       503(b)(9)                 $122,400.00 El Estado Libre Asociado de          No Garantizada           $122,400.00
   QUINTAS BALDWIN                                     Puerto Rico                                                             Puerto Rico
   50 AVE A APT 1206
   BAYAMON, PR 00959                                   El Estado Libre Asociado de       Garantizada               $122,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $122,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $367,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $122.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $122.400,00.
   ^ Reclamo n°. 64729 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

43 DOMINGUEZ SANCHEZ, LEILA               139115       El Estado Libre Asociado de       503(b)(9)                 $277,200.00 El Estado Libre Asociado de          No Garantizada           $277,200.00
   CHALETS DE FUENTES 1006                             Puerto Rico                                                             Puerto Rico
   CAROLINA, PR 00987
                                                       El Estado Libre Asociado de       Garantizada               $277,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $277,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $831,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $277.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $277.200,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 14 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
44 ESCALERA, HERIBERTO GAUTIER            14495        El Estado Libre Asociado de       503(b)(9)                $108,000.00* El Estado Libre Asociado de          No Garantizada          $108,000.00*
   PO BOX 20948                                        Puerto Rico                                                             Puerto Rico
   SAN JUAN, PR 00928-0948
                                                       El Estado Libre Asociado de       Garantizada              $108,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $216,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $108.000,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $108.000,00.
45 FARIS ELBA, LUIS ALBERTO               31883        El Estado Libre Asociado de       503(b)(9)                 $187,200.00 El Estado Libre Asociado de          No Garantizada           $187,200.00
   1430 AVE SAN ALFONSO, APT. 2903                     Puerto Rico                                                             Puerto Rico
   SAN JUAN, PR 00921-4673
                                                       El Estado Libre Asociado de       Garantizada               $187,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $374,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $187.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $187.200,00.
46 FEBO CARRASQUILLO, ALEXANDRA 65050                  El Estado Libre Asociado de       503(b)(9)                  $64,800.00 El Estado Libre Asociado de          No Garantizada             $64,800.00
   HC 4 BOX 8874                                       Puerto Rico                                                             Puerto Rico
   CANOVANAS, PR 00729
                                                       El Estado Libre Asociado de       Garantizada                $64,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $64,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $194,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $64.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $64.800,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 15 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
47 FEBUS RODRIGUEZ, ROBERTO               39663^       El Estado Libre Asociado de       503(b)(9)                $342,816.29* El Estado Libre Asociado de          No Garantizada          $342,816.29*
   URB SANTIAGO IGLESIAS                               Puerto Rico                                                             Puerto Rico
   CALLE FERRER FERRER
   #1350 RIO PIEDRAS                                   El Estado Libre Asociado de       Garantizada              $342,816.29*
   SAN JUAN, PR 00921                                  Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada         Indeterminado*
                                                       Puerto Rico
                                                                                         Subtotal                 $685,632.58*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $342.816,29. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $342.816,29.
   ^ Reclamo n°. 39663 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente

48 FIGUEROA RODRIGUEZ, ARLENE             86808        El Estado Libre Asociado de       503(b)(9)                  $83,400.00 El Estado Libre Asociado de          No Garantizada             $83,400.00
   CIUDAD JARDIN III                                   Puerto Rico                                                             Puerto Rico
   177 CALLE DATILES
   CANOVANAS, PR 00729                                 El Estado Libre Asociado de       Garantizada                $83,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $83,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $250,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $83.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $83.400,00.
49 FIGUEROA, LINNETTE J                   82844        El Estado Libre Asociado de       503(b)(9)                 $108,000.00 El Estado Libre Asociado de          No Garantizada           $108,000.00
   GOLDEN VIEW PLAZA                                   Puerto Rico                                                             Puerto Rico
   503 CALLE MODESTA APT 310
   SAN JUAN, PR 00924                                  El Estado Libre Asociado de       Garantizada               $108,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $108,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $324,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $108.000,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $108.000,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 16 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
50 FLORES LOPEZ, JOSE R                   171325       El Estado Libre Asociado de       503(b)(9)                  $70,000.00 El Estado Libre Asociado de          No Garantizada             $70,000.00
   HC 4 BOX 44374                                      Puerto Rico                                                             Puerto Rico
   CAGUAS, PR 00725
                                                       El Estado Libre Asociado de       Garantizada                $70,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $70,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $210,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $70.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $70.000,00.
51 GALI RODRIGUEZ, YASHIRA                61368        El Estado Libre Asociado de       503(b)(9)                  $79,200.00 El Estado Libre Asociado de          No Garantizada             $79,200.00
   HC 4 BOX 7380                                       Puerto Rico                                                             Puerto Rico
   COROZAL, PR 00783
                                                       El Estado Libre Asociado de       Garantizada                $79,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $79,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $237,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $79.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $79.200,00.
52 GARCIA FEBO, KEYLA Y                   27605^       El Estado Libre Asociado de       503(b)(9)                  $43,454.52 El Estado Libre Asociado de          No Garantizada             $43,454.52
   PO BOX 187                                          Puerto Rico                                                             Puerto Rico
   CANOVANAS, PR 00729
                                                       El Estado Libre Asociado de       Garantizada                $43,454.52
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $43,454.52
                                                       Puerto Rico
                                                                                         Subtotal                  $130,363.56

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $43.454,52. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $43.454,52.
   ^ Reclamo n°. 27605 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 17 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
53 GARCIA CONALES, CELIA                  76739        El Estado Libre Asociado de       503(b)(9)                $165,600.00* El Estado Libre Asociado de          No Garantizada          $165,600.00*
   EDIF. # F, APT. 406                                 Puerto Rico                                                             Puerto Rico
   RESIDENTIAL TORRES DE DE
   SABANA                                              El Estado Libre Asociado de       Garantizada              $165,600.00*
   CAROLINA, PR 00983                                  Puerto Rico
                                                                                         Subtotal                 $331,200.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Asimismo, el demandante reclamó un monto total de
   $165.600,00. En consecuencia, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $165.600,00.
54 GARCIA FEBO, KEYLA Y                   28886        El Estado Libre Asociado de       503(b)(9)                  $72,000.00 El Estado Libre Asociado de          No Garantizada             $72,000.00
   PO BOX 187                                          Puerto Rico                                                             Puerto Rico
   CANOVANAS, PR 00729
                                                       El Estado Libre Asociado de       Garantizada                $72,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $72,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $216,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $72.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $72.000,00.
55 GARCIA FUENTES, EDDIE                  45831        El Estado Libre Asociado de       503(b)(9)                 $144,000.00 El Estado Libre Asociado de          No Garantizada           $144,000.00
   COND VILLAS DEL SOL                                 Puerto Rico                                                             Puerto Rico
   840 CALLE ANASCO APT 333
   SAN JUAN, PR 00925                                  El Estado Libre Asociado de       Garantizada               $144,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $144,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $432,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $144.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $144.000,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 18 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
56 GARCIA HERNANDEZ, NEFTALI              24367^       El Estado Libre Asociado de       503(b)(9)                 $237,600.00 El Estado Libre Asociado de          No Garantizada           $237,600.00
   URB. MONTE VERDE                                    Puerto Rico                                                             Puerto Rico
   CALLE MONTE SANTO
   #3317                                               El Estado Libre Asociado de       Garantizada               $237,600.00
   MANATI, PR 00674                                    Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $237,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $712,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $237.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $237.600,00.
   ^ Reclamo n°. 24367 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

57 GARCIA MARTINEZ, JUANITA               2082^        El Estado Libre Asociado de       503(b)(9)              Indeterminado* El Estado Libre Asociado de          No Garantizada           $30,000.00*
   CALLE 14 T-49                                       Puerto Rico                                                             Puerto Rico
   URB. LAGOS DE PLATA
   LEVITTOWN                                           El Estado Libre Asociado de       Garantizada               $30,000.00*
   TOA BAJA, PR 00949                                  Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $30,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                  $60,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $30.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $30.000,00.
   ^ Reclamo n°. 2082 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente

58 GERENA MARCANO, RICARDO                96234^       El Estado Libre Asociado de       503(b)(9)                 $201,600.00 El Estado Libre Asociado de          No Garantizada           $201,600.00
   22 CALLE                                            Puerto Rico                                                             Puerto Rico
   15 HILL BROTHERS
   SAN JUAN, PR 00924                                  El Estado Libre Asociado de       Garantizada               $201,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $201,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $604,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $201.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $201.600,00.
   ^ Reclamo n°. 96234 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 19 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
59 GONZALEZ CINTRON, MANUEL               162095       El Estado Libre Asociado de       503(b)(9)                 $115,200.00 El Estado Libre Asociado de          No Garantizada           $115,200.00
   URB PUERTO NUEVO                                    Puerto Rico                                                             Puerto Rico
   525 CALLE ARAGON
   SAN JUAN, PR 00920                                  El Estado Libre Asociado de       Garantizada               $115,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $115,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $345,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $115.200,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $115.200,00.
60 GONZALEZ CORPORAN, DARIO A.            111489       El Estado Libre Asociado de       503(b)(9)                 $85,830.00* El Estado Libre Asociado de          No Garantizada           $85,830.00*
   URB. LA DELICIAS                                    Puerto Rico                                                             Puerto Rico
   704 CALLE RAFAEL RIVERA ESBRI
   PONCE, PR 00728-3803                                El Estado Libre Asociado de       Garantizada               $85,830.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $171,660.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $85.830,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $85.830,00.
61 GONZALEZ GARCIA, MELISA                39909        El Estado Libre Asociado de       503(b)(9)                  $72,000.00 El Estado Libre Asociado de          No Garantizada             $72,000.00
   PO BOX 3105                                         Puerto Rico                                                             Puerto Rico
   GUAYNABO, PR 00970
                                                       El Estado Libre Asociado de       Garantizada                $72,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $72,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $216,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $72.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $72.000,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 20 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
62 GONZALEZ VARGAS, MIGUEL A              45135^       El Estado Libre Asociado de       503(b)(9)                  $3,551.00* El Estado Libre Asociado de          No Garantizada             $3,551.00*
   URB PASEO LOS CORALES 2                             Puerto Rico                                                             Puerto Rico
   731 CALLE MAR DE BENGAL
   DORADO, PR 00646-3248                               El Estado Libre Asociado de       Garantizada                $3,551.00*
                                                       Puerto Rico
                                                                                         Subtotal                   $7,102.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $3.551,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $3.551,00.
   ^ Reclamo n°. 45135 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente

63 HERNANDEZ RIVERA, RAMON                29547        El Estado Libre Asociado de       503(b)(9)                     $213.77 El Estado Libre Asociado de          No Garantizada                $213.77
   CALLE LAS FLORES #42                                Puerto Rico                                                             Puerto Rico
   VISTA ALEGRE
   BAYAMON, PR 00959                                   El Estado Libre Asociado de       Garantizada                   $213.77
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada                $213.77
                                                       Puerto Rico
                                                                                         Subtotal                      $641.31

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $213,77. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $213,77.
64 HERNANDEZ RODRIGUEZ, JUAN              33292        El Estado Libre Asociado de       Garantizada                $40,000.00 El Estado Libre Asociado de          No Garantizada             $40,000.00
   HC 8 BOX 3337                                       Puerto Rico                                                             Puerto Rico
   SABANA GRANDE, PR 00637
                                                       El Estado Libre Asociado de       No Garantizada             $40,000.00
                                                       Puerto Rico
                                                                                         Subtotal                   $80,000.00

   Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado. Además, el demandante reclamó un monto total de $40.000,00. Por tal motivo, el reclamo se
   reclasificó en su totalidad como un reclamo general no garantizado de $40.000,00.
65 HERNANDEZ VELAZQUEZ, RAMON             88222        El Estado Libre Asociado de       503(b)(9)                 $201,600.00 El Estado Libre Asociado de          No Garantizada           $201,600.00
   URB LA PATAGONIA                                    Puerto Rico                                                             Puerto Rico
   1 CALLE VICTORIA
   HUMACAO, PR 00791-4046                              El Estado Libre Asociado de       Garantizada               $201,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $201,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $604,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $201.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $201.600,00.
   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                      Página 21 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
66 IVAN PEREZ, FELIX                      23150        El Estado Libre Asociado de       503(b)(9)                 $180,000.00 El Estado Libre Asociado de          No Garantizada           $180,000.00
   RR-6 BOX 66 CAMINO LOURDES                          Puerto Rico                                                             Puerto Rico
   SAN JUAN, PR 00926
                                                       El Estado Libre Asociado de       Garantizada               $180,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $180,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $540,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $180.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $180.000,00.
67 JESUS BON, BASILIO                     112846       El Estado Libre Asociado de       503(b)(9)                 $100,000.00 El Estado Libre Asociado de          No Garantizada           $100,000.00
   PO BOX 193965                                       Puerto Rico                                                             Puerto Rico
   SAN JUAN, PR 00919-3965
                                                       El Estado Libre Asociado de       Garantizada               $100,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $100,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $300,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $100.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.000,00.
68 JOHNSON ROSARIO, EVELYN                27751        El Estado Libre Asociado de       503(b)(9)                $133,416.00* El Estado Libre Asociado de          No Garantizada          $133,416.00*
   VILLA CADIZ                                         Puerto Rico                                                             Puerto Rico
   424 CALLE OLOT
   SAN JUAN, PR 00923                                  El Estado Libre Asociado de       Garantizada              $133,416.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada           $133,416.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $400,248.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $133.416,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $133.416,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 22 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
69 JOHSON ROSARIO, EVELYN J               28524^       El Estado Libre Asociado de       503(b)(9)                  $42,192.96 El Estado Libre Asociado de          No Garantizada             $42,192.96
   424 CALLE OLOT VILLA CADIZ                          Puerto Rico                                                             Puerto Rico
   SAN JUAN, PR 00923
                                                       El Estado Libre Asociado de       Garantizada                $42,192.96
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $42,192.96
                                                       Puerto Rico
                                                                                         Subtotal                  $126,578.88

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $42.192,96. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $42.192,96.
   ^ Reclamo n°. 28524 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente

70 LANTIGUA GARCIA, VIVIANA               85611^       El Estado Libre Asociado de       503(b)(9)                 $112,200.00 El Estado Libre Asociado de          No Garantizada           $112,200.00
   DR. QUEVEDO BAEZ                                    Puerto Rico                                                             Puerto Rico
   BT 21 5TA SECCION LEVITTOWN
   TOA BAJA, PR 00949                                  El Estado Libre Asociado de       Garantizada               $112,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $112,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $336,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $112.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $112.200,00.
   ^ Reclamo n°. 85611 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

71 LIMERY DONES, ABRAHAM                  25267^       El Estado Libre Asociado de       503(b)(9)                 $40,773.24* El Estado Libre Asociado de          No Garantizada           $40,773.24*
   C/ LEILA U-20                                       Puerto Rico                                                             Puerto Rico
   URB. LEVITOWN
   TOA BAJA, PR 00949                                  El Estado Libre Asociado de       Garantizada               $40,773.24*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $40,773.24*
                                                       Puerto Rico
                                                                                         Subtotal                 $122,319.72*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $40.773,24. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $40.773,24.
   ^ Reclamo n°. 25267 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 25267 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados



   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 23 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
72 LIMERY DONES, ABRAHAM                  28721^       El Estado Libre Asociado de       503(b)(9)                $158,400.00* El Estado Libre Asociado de          No Garantizada          $158,400.00*
   URB LEVITTOWN                                       Puerto Rico                                                             Puerto Rico
   U20 CALLE LEILA
   TOA BAJA, PR 00949                                  El Estado Libre Asociado de       Garantizada              $158,400.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $316,800.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $158.400,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $158.400,00.
   ^ Reclamo n°. 28721 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

73 LLADO-ESCUDERO, SARAH E.               80847        El Estado Libre Asociado de       503(b)(9)                 $86,400.00* El Estado Libre Asociado de          No Garantizada           $86,400.00*
   P.O. BOX 8632                                       Puerto Rico                                                             Puerto Rico
   CAGUAS, PR 00726
                                                       El Estado Libre Asociado de       Garantizada               $86,400.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $172,800.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $86.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $86.400,00.
74 LOBETO SANFELIZ, INES                  2889^        El Estado Libre Asociado de       503(b)(9)                  $20,923.45 El Estado Libre Asociado de          No Garantizada             $20,923.45
   PO BOX 2055                                         Puerto Rico                                                             Puerto Rico
   ISABELA, PR 00662
                                                       El Estado Libre Asociado de       Garantizada                $20,923.45
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $20,923.45
                                                       Puerto Rico
                                                                                         Subtotal                   $62,770.35

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $20.923,45. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $20.923,45.
   ^ Reclamo n°. 2889 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 24 de 57
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                                                                 Exhibit A Page 26 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
75 LOBETO SANFELIZ, INES                  47464^       El Estado Libre Asociado de       503(b)(9)                  $20,923.45 El Estado Libre Asociado de          No Garantizada             $20,923.45
   PO BOX 2055                                         Puerto Rico                                                             Puerto Rico
   ISABELA, PR 00662
                                                       El Estado Libre Asociado de       Garantizada                $20,923.45
                                                       Puerto Rico
                                                                                         Subtotal                   $41,846.90

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $20.923,45. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $20.923,45.
   ^ Reclamo n°. 47464 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente

76 LOPEZ GONZALEZ, SYLVIA D.              28114        El Estado Libre Asociado de       503(b)(9)                  $79,200.00 El Estado Libre Asociado de          No Garantizada             $79,200.00
   BES. CAMPANILLA CALLE RAMON                         Puerto Rico                                                             Puerto Rico
   BEFANCES CASA 625
   TOA BAJA, PR 00949                                  El Estado Libre Asociado de       Garantizada                $79,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $79,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $237,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $79.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $79.200,00.
77 LOPEZ RODRIGUEZ, SANDRA I              87087        El Estado Libre Asociado de       503(b)(9)                 $149,400.00 El Estado Libre Asociado de          No Garantizada           $149,400.00
   HC2 BOX 14684                                       Puerto Rico                                                             Puerto Rico
   CAROLINA, PR 00987
                                                       El Estado Libre Asociado de       Garantizada               $149,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $149,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $448,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $149.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $149.400,00.
78 LOZADA FERNANDEZ, EVELYN               87873^       El Estado Libre Asociado de       503(b)(9)                 $144,000.00 El Estado Libre Asociado de          No Garantizada           $144,000.00
   BO. SANTA ROSA I                                    Puerto Rico                                                             Puerto Rico
   HC 06 BOX 6894
   GUAYNABO, PR 00971-9571                             El Estado Libre Asociado de       Garantizada               $144,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $144,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $432,000.00
   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 25 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                 Exhibit A Page 27 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $144.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $144.000,00.
   ^ Reclamo n°. 87873 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

79 LUYANDO ASTACIO, ANGEL JAVIER 45872                 El Estado Libre Asociado de       503(b)(9)                  $40,000.00 El Estado Libre Asociado de          No Garantizada             $40,000.00
   PO BOX 89                                           Puerto Rico                                                             Puerto Rico
   HUMACAO, PR 00792
                                                       El Estado Libre Asociado de       Garantizada                $40,000.00
                                                       Puerto Rico
                                                                                         Subtotal                   $80,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $40.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $40.000,00.
80 MARIN ENCARNACION, GRACE H.            31113        El Estado Libre Asociado de       503(b)(9)                $110,600.00* El Estado Libre Asociado de          No Garantizada          $110,600.00*
   (DERECHO PROPIO)                                    Puerto Rico                                                             Puerto Rico
   PO BOX 7164
   SAN JUAN, PR 00916                                  El Estado Libre Asociado de       Garantizada              $110,600.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada           $110,600.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $331,800.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $110.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $110.600,00.
81 MARRERO OCASIO, EVELYN I               126802       El Estado Libre Asociado de       503(b)(9)                 $223,200.00 El Estado Libre Asociado de          No Garantizada           $223,200.00
   PO BOX 826                                          Puerto Rico                                                             Puerto Rico
   TRUJILLO ALTO, PR 00977
                                                       El Estado Libre Asociado de       Garantizada               $223,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $223,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $669,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Asimismo, el demandante reclamó un monto total de
   $223.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $223.200,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 26 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
82 MARTINEZ CAMACHO, GERALDO              37932        El Estado Libre Asociado de       503(b)(9)                  $64,000.00 El Estado Libre Asociado de          No Garantizada             $64,000.00
   HC 02 BOX 48607                                     Puerto Rico                                                             Puerto Rico
   VEGA BAJA, PR 00693
                                                       El Estado Libre Asociado de       Garantizada                $64,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $64,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $192,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $64.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $64.000,00.
83 MARTINEZ JOFFRE, ALICIA M              27305        El Estado Libre Asociado de       503(b)(9)                 $115,200.00 El Estado Libre Asociado de          No Garantizada           $115,200.00
   COND. LOS CANTIZALES                                Puerto Rico                                                             Puerto Rico
   EDIF.II APT.4-H
   SAN JUAN, PR 00926                                  El Estado Libre Asociado de       Garantizada               $115,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $115,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $345,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $115.200,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $115.200,00.
84 MARTINEZ MENDOZA, ERIDANA              85369        El Estado Libre Asociado de       503(b)(9)                  $14,400.00 El Estado Libre Asociado de          No Garantizada             $14,400.00
   PO BOX 7413                                         Puerto Rico                                                             Puerto Rico
   SAN JUAN, PR 00916-7413
                                                       El Estado Libre Asociado de       Garantizada                $14,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $14,400.00
                                                       Puerto Rico
                                                                                         Subtotal                   $43,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $14.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $14.400,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 27 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
85 MARTINEZ TORO, ANGEL                   83067        El Estado Libre Asociado de       503(b)(9)                $180,000.00* El Estado Libre Asociado de          No Garantizada          $180,000.00*
   LCDO. JESUS M. JIMENEZ                              Puerto Rico                                                             Puerto Rico
   APARTADO 3025
   GUAYAMA, PR 00785                                   El Estado Libre Asociado de       Garantizada              $180,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $360,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $180.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $180.000,00.
86 MEDINA NAVEDO, EDWIN                   17682^       El Estado Libre Asociado de       503(b)(9)                $151,200.00* El Estado Libre Asociado de          No Garantizada          $151,200.00*
   URB.FRONTERA C/JULIO ALVARADO                       Puerto Rico                                                             Puerto Rico
   #139
   BAYAMON, PR 00619                                   El Estado Libre Asociado de       Garantizada              $151,200.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $302,400.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $151.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $151.200,00.
   ^ Reclamo n°. 17682 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

87 MEDINA RAMOS, DAMARIS                  120929       El Estado Libre Asociado de       503(b)(9)                 $75,600.00* El Estado Libre Asociado de          No Garantizada           $75,600.00*
   24980 CARRETERA 437                                 Puerto Rico                                                             Puerto Rico
   QUEBRADILLAS, PR 00678
                                                       El Estado Libre Asociado de       Garantizada               $75,600.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $151,200.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $75.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $75.600,00.
88 MEDINA REMIREZ, DORIS MABEL            36012        El Estado Libre Asociado de       503(b)(9)                  $64,800.00 El Estado Libre Asociado de          No Garantizada             $64,800.00
   CALLE DR ESTEBAN DE ROSA                            Puerto Rico                                                             Puerto Rico
   BW 6
   5 SECCION LEVITTOWN                                 El Estado Libre Asociado de       Garantizada                $64,800.00
   TOA BAJA, PR 00949                                  Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $64,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $194,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $64.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $64.800,00.


   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 28 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
89 MELENDEZ ALVARADO, BETTY               124594^      El Estado Libre Asociado de       503(b)(9)                 $127,800.00 El Estado Libre Asociado de          No Garantizada           $127,800.00
   BUZON 206 URB. SIERRA REAL                          Puerto Rico                                                             Puerto Rico
   CAYEY, PR 00736-9004
                                                       El Estado Libre Asociado de       Garantizada               $127,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $127,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $383,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Asimismo, el demandante reclamó un monto total de
   $127.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $127.800,00.
   ^ Reclamo n°. 124594 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

90 MELENDEZ, SANTIAGO NUNEZ               31418^       El Estado Libre Asociado de       503(b)(9)                $163,800.00* El Estado Libre Asociado de          No Garantizada          $163,800.00*
   RR-37 BOX 5140 CALLE ROMANY                         Puerto Rico                                                             Puerto Rico
   SAN JUAN, PR 00926
                                                       El Estado Libre Asociado de       Garantizada              $163,800.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada           $163,800.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $491,400.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $163.800,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $163.800,00.
   ^ Reclamo n°. 31418 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

91 MIRANDA QUINONES, MYRNA L              25688        El Estado Libre Asociado de       503(b)(9)                 $201,600.00 El Estado Libre Asociado de          No Garantizada           $201,600.00
   PO BOX 1746                                         Puerto Rico                                                             Puerto Rico
   TOA BAJA, PR 00951-1746
                                                       El Estado Libre Asociado de       Garantizada               $201,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $201,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $604,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $201.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $201.600,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 29 de 57
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
92 MOJICA BULTRON, SONIA M                44400        El Estado Libre Asociado de       503(b)(9)                  $92,690.00 El Estado Libre Asociado de          No Garantizada             $92,690.00
   P O BOX 3026                                        Puerto Rico                                                             Puerto Rico
   BAYAMON, PR 00960
                                                       El Estado Libre Asociado de       Garantizada                $92,690.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $92,690.00
                                                       Puerto Rico
                                                                                         Subtotal                  $278,070.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $92.690,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $92.690,00.
93 MOJICA BULTRON, SONIA M.               27930^       El Estado Libre Asociado de       503(b)(9)                 $165,600.00 El Estado Libre Asociado de          No Garantizada           $165,600.00
   PO BOX 3026                                         Puerto Rico                                                             Puerto Rico
   BAYAMON, PR 00960
                                                       El Estado Libre Asociado de       Garantizada               $165,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $165,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $496,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Asimismo, el demandante reclamó un monto total de
   $165.600,00. En consecuencia, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $165.600,00.
   ^ Reclamo n°. 27930 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

94 MOLINA FERRER, MARIA C                 43315^       El Estado Libre Asociado de       503(b)(9)                 $122,400.00 El Estado Libre Asociado de          No Garantizada           $122,400.00
   CALLE 115 BP-10 JARD DE COUNTRY                     Puerto Rico                                                             Puerto Rico
   CLUB
   CAROLINA, PR 00983                                  El Estado Libre Asociado de       Garantizada               $122,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $122,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $367,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $122.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $122.400,00.
   ^ Reclamo n°. 43315 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 30 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
95 MORALES COLON, ROSANA                  78005        El Estado Libre Asociado de       503(b)(9)                  $57,600.00 El Estado Libre Asociado de          No Garantizada             $57,600.00
   C/410 BLQ 143                                       Puerto Rico                                                             Puerto Rico
   #20 VILLA CAROLINA
   CAROLINA, PR 00987                                  El Estado Libre Asociado de       Garantizada                $57,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $57,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $172,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $57.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $57.600,00.
96 MORALES COLON, VILMARIE                20553        El Estado Libre Asociado de       503(b)(9)                 $108,000.00 El Estado Libre Asociado de          No Garantizada           $108,000.00
   VILLA CAROLINA                                      Puerto Rico                                                             Puerto Rico
   BLQ 143 20 CALLE 410
   CAROLINA, PR 00985                                  El Estado Libre Asociado de       Garantizada               $108,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $108,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $324,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $108.000,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $108.000,00.
97 MORALES ENCARNACION, HOMERO 67537                   El Estado Libre Asociado de       503(b)(9)                $122,400.00* El Estado Libre Asociado de          No Garantizada          $122,400.00*
   313 MIRADORES DEL YUNGUE                            Puerto Rico                                                             Puerto Rico
   RIO GRANDE, PR 00745
                                                       El Estado Libre Asociado de       Garantizada              $122,400.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $244,800.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $122.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $122.400,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 31 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
98 MUNOZ LOPEZ, TANIA M.                  51184        El Estado Libre Asociado de       503(b)(9)                 $129,600.00 El Estado Libre Asociado de          No Garantizada           $129,600.00
    COND. PORTALES DE SAN JUAN                         Puerto Rico                                                             Puerto Rico
    APT B-110 RIO PIEDRAS
    SAN JUAN, PR 00924                                 El Estado Libre Asociado de       Garantizada               $129,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $129,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $388,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $129.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $129.600,00.
99 MUSSENDEN MIRANDA, IVELISSE            28731        El Estado Libre Asociado de       503(b)(9)                  $72,000.00 El Estado Libre Asociado de          No Garantizada             $72,000.00
    URB PARQUE FLAMINGO                                Puerto Rico                                                             Puerto Rico
    94 CALLE PARTENON
    BAYAMON, PR 00959                                  El Estado Libre Asociado de       Garantizada                $72,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $72,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $216,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $72.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $72.000,00.
100 NANGO LASSALLE, EPIFANIO              120735^      El Estado Libre Asociado de       503(b)(9)                 $122,400.00 El Estado Libre Asociado de          No Garantizada           $122,400.00
    3000 MARGINAL BALDORIOTY APT                       Puerto Rico                                                             Puerto Rico
    11-K COND INTERSUITES
    CAROLINA, PR 00979                                 El Estado Libre Asociado de       Garantizada               $122,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $122,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $367,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $122.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $122.400,00.
   ^ Reclamo n°. 120735 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 32 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
101 NAVARRO CANCEL, IVELISSE              28171        El Estado Libre Asociado de       503(b)(9)                 $204,600.00 El Estado Libre Asociado de          No Garantizada           $204,600.00
    URB LAS LOMAS                                      Puerto Rico                                                             Puerto Rico
    SO1686 CALLE 34
    SAN JUAN, PR 00921                                 El Estado Libre Asociado de       Garantizada               $204,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $204,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $613,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $204.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $204.600,00.
102 NAVARRO ROSARIO, ELIS N.              31601        El Estado Libre Asociado de       503(b)(9)                 $171,000.00 El Estado Libre Asociado de          No Garantizada           $171,000.00
    COND VILLAS DEL GIGANTE                            Puerto Rico                                                             Puerto Rico
    500 CALLE PASEO REAL
    APT520                                             El Estado Libre Asociado de       Garantizada               $171,000.00
    CAROLINA, PR 00987                                 Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $171,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $513,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $171.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $171.000,00.
103 NAZARIO TORRES, HELGA                 66344        El Estado Libre Asociado de       503(b)(9)                 $136,800.00 El Estado Libre Asociado de          No Garantizada           $136,800.00
    PO BOX 815                                         Puerto Rico                                                             Puerto Rico
    CIDRA, PR 00739-0815
                                                       El Estado Libre Asociado de       Garantizada               $136,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $136,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $410,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $136.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $136.800,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 33 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
104 NEGRON LOPEZ, MILAGROS                80812        El Estado Libre Asociado de       503(b)(9)                $180,000.00* El Estado Libre Asociado de          No Garantizada          $180,000.00*
    84 CALLE POPULAR                                   Puerto Rico                                                             Puerto Rico
    SAN JUAN, PR 00917
                                                       El Estado Libre Asociado de       Garantizada              $180,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $360,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $180.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $180.000,00.
105 NEGRON MILLAN, YVONNE                 27083^       El Estado Libre Asociado de       503(b)(9)                 $129,600.00 El Estado Libre Asociado de          No Garantizada           $129,600.00
    SANTA MARIA MAYOR                                  Puerto Rico                                                             Puerto Rico
    A 10 CALLE 19
    HUMACAO, PR 00791                                  El Estado Libre Asociado de       Garantizada               $129,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $129,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $388,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $129.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $129.600,00.
   ^ Reclamo n°. 27083 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 27083 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
106 NIEVES RIVERA, ANGEL                  66309        El Estado Libre Asociado de       503(b)(9)                $216,000.00* El Estado Libre Asociado de          No Garantizada          $216,000.00*
    URB. DORADO DEL MAR                                Puerto Rico                                                             Puerto Rico
    H 04 CALLE PELICANO
    DORADO, PR 00646                                   El Estado Libre Asociado de       Garantizada              $216,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $432,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $216.000,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $216.000,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 34 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
107 OLIVERO FILOMENO, JOSIAN              26262        El Estado Libre Asociado de       503(b)(9)                 $100,800.00 El Estado Libre Asociado de          No Garantizada           $100,800.00
    URB PARQUE ECUESTRE                                Puerto Rico                                                             Puerto Rico
    L 23 CALLE THE KID
    CAROLINA, PR 00987                                 El Estado Libre Asociado de       Garantizada               $100,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $100,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $302,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $100.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.800,00.
108 ORTA ROMERO, MARITZA I                23067        El Estado Libre Asociado de       503(b)(9)                 $129,600.00 El Estado Libre Asociado de          No Garantizada           $129,600.00
    213 CALLE TAPIA                                    Puerto Rico                                                             Puerto Rico
    SAN JUAN, PR 00911
                                                       El Estado Libre Asociado de       Garantizada               $129,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $129,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $388,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $129.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $129.600,00.
109 ORTIZ MORALES, YOLANDA                106248       El Estado Libre Asociado de       503(b)(9)                $100,800.00* El Estado Libre Asociado de          No Garantizada          $100,800.00*
    URB. LA COSTA GARDENS HOMES                        Puerto Rico                                                             Puerto Rico
    188 CALLE ORQUIDEA
    FAJARDO, PR 00738                                  El Estado Libre Asociado de       Garantizada              $100,500.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada           $100,500.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $301,800.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $100.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.800,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 35 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
110 ORTIZ RIVERA, JULIO ANGEL             171582       El Estado Libre Asociado de       503(b)(9)                    $4,984.00 El Estado Libre Asociado de         No Garantizada              $4,984.00
    371/2 PARK ST APT B                                Puerto Rico                                                              Puerto Rico
    VERNON, CT 06066
                                                       El Estado Libre Asociado de       Garantizada                  $4,984.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada               $4,984.00
                                                       Puerto Rico
                                                                                         Subtotal                   $14,952.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $4.984,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $4.984,00.
111 ORTIZ RODRIGUEZ, GLORIA I.            48014        El Estado Libre Asociado de       503(b)(9)                 $100,800.00 El Estado Libre Asociado de          No Garantizada           $100,800.00
    SABANA GARDENS                                     Puerto Rico                                                             Puerto Rico
    2-2 CALLE 5
    CAROLINA, PR 00983                                 El Estado Libre Asociado de       Garantizada               $100,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $100,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $302,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $100.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.800,00.
112 ORTIZ SANCHEZ, FABIAN                 29483        El Estado Libre Asociado de       503(b)(9)                 $216,000.00 El Estado Libre Asociado de          No Garantizada           $216,000.00
    VILLA CAROLINA 5TA EXT                             Puerto Rico                                                             Puerto Rico
    188 6 CALLE 517
    CAROLINA, PR 00985                                 El Estado Libre Asociado de       Garantizada               $216,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $216,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $648,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $216.000,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $216.000,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 36 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
113 PADIN MARTINEZ, IRIS REBECCA          34262        El Estado Libre Asociado de       503(b)(9)                  $36,000.00 El Estado Libre Asociado de          No Garantizada             $36,000.00
    M-11 CALLE SENDA DE LA ROSADA                      Puerto Rico                                                             Puerto Rico
    URB. QUINTAS DEL RIO
    BAYAMON, PR 00961                                  El Estado Libre Asociado de       Garantizada                $36,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $36,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $108,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $36.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $36.000,00.
114 PENALOZA CLEMENTE, CARMEN             82981        El Estado Libre Asociado de       503(b)(9)                  $43,200.00 El Estado Libre Asociado de          No Garantizada             $43,200.00
    APT 2002 CALLE 310 FORTUNATO                       Puerto Rico                                                             Puerto Rico
    VIZCARRONDO
    CAROLINA, PR 00985                                 El Estado Libre Asociado de       Garantizada                $43,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $43,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $129,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $43.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $43.200,00.
115 PEREZ PENALOZA, ZHADYA P              45764^       El Estado Libre Asociado de       503(b)(9)                  $20,059.92 El Estado Libre Asociado de          No Garantizada             $20,059.92
    RR 2 BOX 252                                       Puerto Rico                                                             Puerto Rico
    CAROLINA, PR 00987
                                                       El Estado Libre Asociado de       Garantizada                $20,059.92
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $20,059.92
                                                       Puerto Rico
                                                                                         Subtotal                   $60,179.76

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $20.059,92. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $20.059,92.
   ^ Reclamo n°. 45764 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 45764 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 37 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
116 PEREZ PENALOZA, ZHADYA P              25578^       El Estado Libre Asociado de       503(b)(9)                 $50,400.00* El Estado Libre Asociado de          No Garantizada           $50,400.00*
    RR 2 BOX 252                                       Puerto Rico                                                             Puerto Rico
    CAROLINA, PR 00987
                                                       El Estado Libre Asociado de       Garantizada               $50,400.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $50,400.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $151,200.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $50.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $50.400,00.
   ^ Reclamo n°. 25578 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

117 PEREZ TORRES, ANGEL                   25432        El Estado Libre Asociado de       503(b)(9)                  $50,400.00 El Estado Libre Asociado de          No Garantizada             $50,400.00
    PASEO CLARO 3226                                   Puerto Rico                                                             Puerto Rico
    3RA. SECCIN LEVITTOWN
    TOA BAJA, PR 00949                                 El Estado Libre Asociado de       Garantizada                $50,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $50,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $151,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $50.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $50.400,00.
118 PEREZ TORRES, JENNIFER E              19846        El Estado Libre Asociado de       503(b)(9)                  $79,200.00 El Estado Libre Asociado de          No Garantizada             $79,200.00
    URB LAS GOVIOTAS                                   Puerto Rico                                                             Puerto Rico
    E 23 CALLE REAL
    TOA BAJA, PR 00949                                 El Estado Libre Asociado de       Garantizada                $79,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $79,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $237,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $79.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $79.200,00.
119 PIZARRO CASTRO, MARIBEL               29982^       El Estado Libre Asociado de       503(b)(9)                $151,200.00* El Estado Libre Asociado de          No Garantizada          $151,200.00*
    URB ROSA MARIA                                     Puerto Rico                                                             Puerto Rico
    E 23 CALLE 4
    CAROLINA, PR 00985                                 El Estado Libre Asociado de       Garantizada              $151,200.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $302,400.00*
   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 38 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $151.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $151.200,00.
   ^ Reclamo n°. 29982 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

120 QUINONES PEREZ, CARMEN                87658        El Estado Libre Asociado de       503(b)(9)                  $90,600.00 El Estado Libre Asociado de          No Garantizada             $90,600.00
    C/ LINCE #780 DOS PINOS                            Puerto Rico                                                             Puerto Rico
    SAN JUAN, PR 00923
                                                       El Estado Libre Asociado de       Garantizada                $90,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $90,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $271,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $90.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $90.600,00.
121 RAMOS CARRILLO, JAVIER A              14972        El Estado Libre Asociado de       503(b)(9)                 $43,200.00* El Estado Libre Asociado de          No Garantizada           $43,200.00*
    CALLE JERUZALEM 438                                Puerto Rico                                                             Puerto Rico
    SABANA LLANA
    RIO PIEDRAS                                        El Estado Libre Asociado de       Garantizada               $43,200.00*
    SAN JUAN, PR 00924                                 Puerto Rico
                                                                                         Subtotal                  $86,400.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $43.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $43.200,00.
122 REY GONZALEZ, MARIA DEL R.            124193       El Estado Libre Asociado de       503(b)(9)                 $21,600.00* El Estado Libre Asociado de          No Garantizada           $21,600.00*
    7000 CARR. 844 APT. 173                            Puerto Rico                                                             Puerto Rico
    SAN JUAN, PR 00926
                                                       El Estado Libre Asociado de       Garantizada               $21,600.00*
                                                       Puerto Rico
                                                                                         Subtotal                  $43,200.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $21.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $21.600,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 39 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
123 REYES CAPPOBIANCO, ANA ESTHER 81666^               El Estado Libre Asociado de       503(b)(9)                  $35,894.04 El Estado Libre Asociado de          No Garantizada             $35,894.04
    URB. PARQUE ECUESTRIE CALLE                        Puerto Rico                                                             Puerto Rico
    EL TITAN H-7
    CAROLINA, PR 00987                                 El Estado Libre Asociado de       Garantizada                $35,894.04
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $35,894.04
                                                       Puerto Rico
                                                                                         Subtotal                  $107,682.12

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $35.894,04. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $35.894,04.
   ^ Reclamo n°. 81666 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente

124 REYES CAPPOBIANCO, ANA ESTHER 51051                El Estado Libre Asociado de       503(b)(9)                 $158,400.00 El Estado Libre Asociado de          No Garantizada           $158,400.00
    URB. PARQUE ECUUSTRA CALLE EL                      Puerto Rico                                                             Puerto Rico
    TITAN H-7
    CAROLINA, PR 00987                                 El Estado Libre Asociado de       Garantizada               $158,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $158,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $475,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $158.400,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $158.400,00.
125 REYES GONZALEZ, RAMON ELIAS           34384        El Estado Libre Asociado de       503(b)(9)              Indeterminado* El Estado Libre Asociado de          No Garantizada           $72,000.00*
    HC-12 BOX 111                                      Puerto Rico                                                             Puerto Rico
    HUMACAO, PR 00791
                                                       El Estado Libre Asociado de       Garantizada               $72,000.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $72,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $144,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $72.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $72.000,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 40 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
126 REYES ROSARIO, MARIA M                38605        El Estado Libre Asociado de       503(b)(9)                 $223,200.00 El Estado Libre Asociado de          No Garantizada           $223,200.00
    BO. BUEN CONSEJO CALLE VALLEJO                     Puerto Rico                                                             Puerto Rico
    1226
    SAN JUAN, PR 00926                                 El Estado Libre Asociado de       Garantizada               $223,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $446,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Asimismo, el demandante reclamó un monto total de
   $223.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $223.200,00.
127 RIOS JIMENEZ, IVAN                    105171       El Estado Libre Asociado de       503(b)(9)                $158,400.00* El Estado Libre Asociado de          No Garantizada          $158,400.00*
    HC 2 BOX 14684                                     Puerto Rico                                                             Puerto Rico
    CAROLINA, PR 00987-9722
                                                       El Estado Libre Asociado de       Garantizada              $158,400.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $316,800.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $158.400,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $158.400,00.
128 RIVERA CENTENO , IVETTE               24752^       El Estado Libre Asociado de       503(b)(9)                 $106,200.00 El Estado Libre Asociado de          No Garantizada           $106,200.00
    URB ROLLING HILLS                                  Puerto Rico                                                             Puerto Rico
    C91 C BRASIL
    CAROLINA, PR 00987                                 El Estado Libre Asociado de       Garantizada               $106,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $106,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $318,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $106.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $106.200,00.
   ^ Reclamo n°. 24752 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 41 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
129 RIVERA COLON, NACHELYN M.             84114        El Estado Libre Asociado de       503(b)(9)                  $21,600.00 El Estado Libre Asociado de          No Garantizada             $21,600.00
    PO BOX 550                                         Puerto Rico                                                             Puerto Rico
    CANOVANAS, PR 00729
                                                       El Estado Libre Asociado de       Garantizada                $21,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $21,600.00
                                                       Puerto Rico
                                                                                         Subtotal                   $64,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $21.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $21.600,00.
130 RIVERA GONZALEZ, MINELLIE             49405        El Estado Libre Asociado de       503(b)(9)                 $100,800.00 El Estado Libre Asociado de          No Garantizada           $100,800.00
    HD-25 CALLE 221                                    Puerto Rico                                                             Puerto Rico
    URB. COUNTRY CLUB
    CAROLINA, PR 00982                                 El Estado Libre Asociado de       Garantizada               $100,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $100,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $302,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $100.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.800,00.
131 RIVERA HERNANDEZ, ZAIDA               31837^       El Estado Libre Asociado de       503(b)(9)                  $93,600.00 El Estado Libre Asociado de          No Garantizada             $93,600.00
    LOMAS VERDES                                       Puerto Rico                                                             Puerto Rico
    4417 YAGRUMO
    BAYAMON, PR 00956                                  El Estado Libre Asociado de       Garantizada                $93,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $93,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $280,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $93.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $93.600,00.
   ^ Reclamo n°. 31837 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 42 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
132 RIVERA NEGRON, XAVIER A               122423       El Estado Libre Asociado de       503(b)(9)                  $64,800.00 El Estado Libre Asociado de          No Garantizada             $64,800.00
    BDA LAS MONJAS                                     Puerto Rico                                                             Puerto Rico
    107 C PEPE DIAZ
    SAN JUAN, PR 00917                                 El Estado Libre Asociado de       Garantizada                $64,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $64,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $194,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $64.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $64.800,00.
133 RIVERA PEREZ, ROSA A.                 82998        El Estado Libre Asociado de       503(b)(9)                 $104,400.00 El Estado Libre Asociado de          No Garantizada           $104,400.00
    URB. QUINTAS DE CANOVANAS                          Puerto Rico                                                             Puerto Rico
    C/4 # 441
    CANOVANAS, PR 00729                                El Estado Libre Asociado de       Garantizada               $104,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $104,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $313,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $104.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $104.400,00.
134 RIVERA RIVAS, ARMANDO                 33403        El Estado Libre Asociado de       503(b)(9)                 $44,279.43* El Estado Libre Asociado de          No Garantizada           $44,279.43*
    DAVID F. CASTILLO HERRERA                          Puerto Rico                                                             Puerto Rico
    1506 PASEO FAGOT SUITE #3
    PONCE, PR 00716-2302                               El Estado Libre Asociado de       No Garantizada            $44,279.43*
                                                       Puerto Rico
                                                                                         Subtotal                  $88,558.86*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. Además, el demandante reclamó un monto total de $44.279,43. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no
   garantizado de $44.279,43.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 43 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
135 RIVERA SANTOS, NILSA M.               29513^       El Estado Libre Asociado de       503(b)(9)                 $144,000.00 El Estado Libre Asociado de          No Garantizada           $144,000.00
    313 PLEIADOS DEL YUNQUE                            Puerto Rico                                                             Puerto Rico
    RIO GRANDE, PR 00745
                                                       El Estado Libre Asociado de       Garantizada               $144,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $144,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $432,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $144.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $144.000,00.
   ^ Reclamo n°. 29513 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

136 RIVERA VILLEGAS, KARLA M.             35509        El Estado Libre Asociado de       503(b)(9)                  $64,800.00 El Estado Libre Asociado de          No Garantizada             $64,800.00
    URB. LOS DOMINICOS                                 Puerto Rico                                                             Puerto Rico
    CALLE SAN MATEO A-8
    BAYAMON, PR 00957                                  El Estado Libre Asociado de       Garantizada                $64,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $64,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $194,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $64.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $64.800,00.
137 RODRIGUEZ ALVARADO, HILDA I.          34843        El Estado Libre Asociado de       503(b)(9)                  $93,600.00 El Estado Libre Asociado de          No Garantizada             $93,600.00
    #500 GUAYANILLA COND.                              Puerto Rico                                                             Puerto Rico
    TOWNHOUSE APT 806
    SAN JUAN, PR 00923                                 El Estado Libre Asociado de       Garantizada                $93,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $93,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $280,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $93.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $93.600,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 44 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                 Exhibit A Page 46 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
138 RODRIGUEZ CARDI, ENEROLIZA            27607^       El Estado Libre Asociado de       503(b)(9)                  $53,730.48 El Estado Libre Asociado de          No Garantizada             $53,730.48
    CALLE RAFAEL ALONZO TORRES                         Puerto Rico                                                             Puerto Rico
    #1765
    SAN JUAN, PR 00921                                 El Estado Libre Asociado de       Garantizada                $53,730.48
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $53,730.48
                                                       Puerto Rico
                                                                                         Subtotal                  $161,191.44

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $53.730,48. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $53.730.48.
   ^ Reclamo n°. 27607 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente
   Reclamo n°. 27607 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
139 RODRIGUEZ CARDI, ENEROLIZA            31424^       El Estado Libre Asociado de       503(b)(9)                $230,400.00* El Estado Libre Asociado de          No Garantizada          $230,400.00*
    CALLE RAFAEL ALONZO TORRES                         Puerto Rico                                                             Puerto Rico
    #1765
    SAN JUAN, PR 00921                                 El Estado Libre Asociado de       Garantizada              $230,400.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada           $230,400.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $691,200.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $230.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $230.400,00.
   ^ Reclamo n°. 31424 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

140 RODRIGUEZ CASELLAS, ZINA              31313        El Estado Libre Asociado de       503(b)(9)                 $100,800.00 El Estado Libre Asociado de          No Garantizada           $100,800.00
    URB PARQUE ECUESTRE                                Puerto Rico                                                             Puerto Rico
    L 23 THE KID
    CAROLINA, PR 00987                                 El Estado Libre Asociado de       Garantizada               $100,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $100,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $302,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $100.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.800,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 45 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
141 RODRIGUEZ CASTRO, ERICK               74159        El Estado Libre Asociado de       503(b)(9)                 $108,000.00 El Estado Libre Asociado de          No Garantizada           $108,000.00
    HC-01 BOX 11648                                    Puerto Rico                                                             Puerto Rico
    CAROLINA, PR 00985
                                                       El Estado Libre Asociado de       Garantizada               $108,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $108,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $324,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $108.000,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $108.000,00.
142 RODRIGUEZ CEDENO, JOSE M              6296         El Estado Libre Asociado de       503(b)(9)                  $75,000.00 El Estado Libre Asociado de          No Garantizada             $75,000.00
    PO BOX 7126                                        Puerto Rico                                                             Puerto Rico
    PONCE, PR 00732
                                                       El Estado Libre Asociado de       Garantizada                $75,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $150,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $75.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $75.000,00.
143 RODRIGUEZ COLON, JOSE ALBERTO 14950                El Estado Libre Asociado de       503(b)(9)                 $108,000.00 El Estado Libre Asociado de          No Garantizada           $108,000.00
    URB. VILLAS DE CANEY I16 C/                        Puerto Rico                                                             Puerto Rico
    GUARIONEX
    TRUJILLO ALTO, PR 00976                            El Estado Libre Asociado de       Garantizada               $108,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $216,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $108.000,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $108.000,00.
144 RODRIGUEZ MELENDEZ, JOSE M.           2535         Autoridad de Carreteras y         503(b)(9)              Indeterminado* Autoridad de Carreteras y            No Garantizada          $143,410.00*
    URB. VILLA FONTANA                                 Transportación de Puerto Rico                                           Transportación de Puerto Rico
    VIA 63 3K-N1
    CAROLINA, PR 00983                                 Autoridad de Carreteras y         Garantizada              $143,410.00*
                                                       Transportación de Puerto Rico
                                                       Autoridad de Carreteras y         No Garantizada           $143,410.00*
                                                       Transportación de Puerto Rico
                                                                                         Subtotal                 $286,820.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $143.410,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $143.410,00.

   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 46 de 57
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
145 RODRIGUEZ OLIVERAS, MIRIAM            20526^       El Estado Libre Asociado de       503(b)(9)                 $164,400.00 El Estado Libre Asociado de          No Garantizada           $164,400.00
    CALLE 129 BX-27 JARDINES DE                        Puerto Rico                                                             Puerto Rico
    COUNTRY CLUB
    CAROLINA, PR 00985                                 El Estado Libre Asociado de       Garantizada               $164,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $164,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $493,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $164.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $164.400,00.
   ^ Reclamo n°. 20526 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

146 RODRIQUEZ CALDERON, LEYKA M.          79166        El Estado Libre Asociado de       503(b)(9)                  $36,000.00 El Estado Libre Asociado de          No Garantizada             $36,000.00
    HC 02 BOX 7422                                     Puerto Rico                                                             Puerto Rico
    PINONES LOIZA, PR 00772
                                                       El Estado Libre Asociado de       Garantizada                $36,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $36,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $108,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $36.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $36.000,00.
147 ROMAN DIAZ, JORGE                     33532        El Estado Libre Asociado de       503(b)(9)                  $93,600.00 El Estado Libre Asociado de          No Garantizada             $93,600.00
    URB LOMA ALTA                                      Puerto Rico                                                             Puerto Rico
    E 6 CALLE 1
    CAROLINA, PR 00987                                 El Estado Libre Asociado de       Garantizada                $93,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $93,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $280,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $93.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $93.600,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 47 de 57
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
148 ROSA RUIZ, RAQUEL                     35838        El Estado Libre Asociado de       503(b)(9)                 $29,000.00* El Estado Libre Asociado de          No Garantizada           $29,000.00*
    URB ALTAMESA                                       Puerto Rico                                                             Puerto Rico
    1661 CALLE SANTA MONICA
    SAN JUAN, PR 00921-4320                            El Estado Libre Asociado de       Garantizada               $29,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                  $58,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $29.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $29.000,00.
149 ROSARIO ALVAREZ, YOLANDA              22480        El Estado Libre Asociado de       503(b)(9)                 $100,800.00 El Estado Libre Asociado de          No Garantizada           $100,800.00
    URB METROPOLIS                                     Puerto Rico                                                             Puerto Rico
    41 2P27
    CAROLINA, PR 00987                                 El Estado Libre Asociado de       Garantizada               $100,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $100,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $302,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $100.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.800,00.
150 ROSARIO ALVAREZ, YOLANDA              25824^       El Estado Libre Asociado de       503(b)(9)                  $95,782.80 El Estado Libre Asociado de          No Garantizada             $95,782.80
    URB METROPOLIS                                     Puerto Rico                                                             Puerto Rico
    2 P 27 CALLE 41
    CAROLINA, PR 00987                                 El Estado Libre Asociado de       Garantizada                $95,782.80
                                                       Puerto Rico
                                                                                         Subtotal                  $191,565.60

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $95.782,80. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $95.782,80.
   ^ Reclamo n°. 25824 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 48 de 57
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
151 RUIZ GUADARRAMA, ARNOLD D             12256        El Estado Libre Asociado de       503(b)(9)                $856,620.00* El Estado Libre Asociado de          No Garantizada          $856,620.00*
    URB MARIOLGA                                       Puerto Rico                                                             Puerto Rico
    H 9 CALLE SAN BERNARDO
    CAGUAS, PR 00725                                   El Estado Libre Asociado de       Garantizada              $856,620.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada         Indeterminado*
                                                       Puerto Rico
                                                                                         Subtotal               $1,713,240.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $856.620,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $856.620,00.
152 RUIZ RIVERA, NILDA                    34885        El Estado Libre Asociado de       503(b)(9)                  $64,800.00 El Estado Libre Asociado de          No Garantizada             $64,800.00
    2DA EXT SANTA ELENA                                Puerto Rico                                                             Puerto Rico
    C 15 CALLE GIRASOL
    GUAYANILLA, PR 00656                               El Estado Libre Asociado de       Garantizada                $64,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $64,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $194,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $64.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $64.800,00.
153 SALAS UGARTE, JUAN                    128149       El Estado Libre Asociado de       503(b)(9)                $136,800.00* El Estado Libre Asociado de          No Garantizada          $136,800.00*
    LA MONJAS                                          Puerto Rico                                                             Puerto Rico
    84 C/ POPULAR
    SAN JUAN, PR 00917                                 El Estado Libre Asociado de       Garantizada              $136,800.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $273,600.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $136.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $136.800,00.
154 SALDANA BETANCOURT, VIVIAN            109400       El Estado Libre Asociado de       503(b)(9)                  $93,600.00 El Estado Libre Asociado de          No Garantizada             $93,600.00
    HC04 BOX 8614                                      Puerto Rico                                                             Puerto Rico
    BO CUBUY
    CANOVANAS, PR 00729                                El Estado Libre Asociado de       Garantizada                $93,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $187,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $93.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $93.600,00.

   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 49 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                 Exhibit A Page 51 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
155 SANCHEZ RAMOS, CARMEN A               25014        El Estado Libre Asociado de       503(b)(9)                  $8,000.00* El Estado Libre Asociado de          No Garantizada             $8,000.00*
    BO CAMPANILLAS                                     Puerto Rico                                                             Puerto Rico
    172 C/ IGLESIAS
    TOA BAJA, PR 00949                                 El Estado Libre Asociado de       Garantizada                $8,000.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada             $8,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                  $24,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $8.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $8.000,00.
156 SANTIAGO DIAZ, EVELYN                 35757        El Estado Libre Asociado de       Garantizada                $45,000.00 El Estado Libre Asociado de          No Garantizada             $45,000.00
    VIA 3 2LR 621                                      Puerto Rico                                                             Puerto Rico
    VILLA FONTANA
    CAROLINA, PR 00983                                 El Estado Libre Asociado de       No Garantizada             $45,000.00
                                                       Puerto Rico
                                                                                         Subtotal                   $90,000.00

   Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado. Además, el demandante reclamó un monto total de $45.000,00. Por tal motivo, el reclamo se
   reclasificó en su totalidad como un reclamo general no garantizado de $45.000,00.
157 SANTIAGO ECHEVARRIA, ISMAEL           61232        El Estado Libre Asociado de       503(b)(9)                 $30,000.00* El Estado Libre Asociado de          No Garantizada           $30,000.00*
    PO BOX 1097                                        Puerto Rico                                                             Puerto Rico
    PATILLAS, PR 00723
                                                       El Estado Libre Asociado de       Garantizada               $30,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                  $60,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $30.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $30.000,00.
158 SANTIAGO FALERO, LORIANNE             112161       El Estado Libre Asociado de       503(b)(9)                 $14,400.00* El Estado Libre Asociado de          No Garantizada           $14,400.00*
    COOP VIVENDAS ROLLING HILLS                        Puerto Rico                                                             Puerto Rico
    BUZON 152 APTO G 8
    CAROLINA, PR 00987                                 El Estado Libre Asociado de       Garantizada               $14,400.00*
                                                       Puerto Rico
                                                                                         Subtotal                  $28,800.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $14.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $14.400,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 50 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                 Exhibit A Page 52 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
159 SANTIAGO SERRANO, MADELINE            25012        El Estado Libre Asociado de       503(b)(9)                 $115,200.00 El Estado Libre Asociado de          No Garantizada           $115,200.00
    COND WHITE TOWER                                   Puerto Rico                                                             Puerto Rico
    APT 511
    SAN JUAN, PR 00921                                 El Estado Libre Asociado de       Garantizada               $115,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $115,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $345,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $115.200,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $115.200,00.
160 SCHMITH, ASTRID                       29518        El Estado Libre Asociado de       503(b)(9)                 $165,600.00 El Estado Libre Asociado de          No Garantizada           $165,600.00
    CALLE 2 B-12                                       Puerto Rico                                                             Puerto Rico
    SANS SOUCI COURT
    BAYAMON, PR 00957                                  El Estado Libre Asociado de       Garantizada               $165,600.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $165,600.00
                                                       Puerto Rico
                                                                                         Subtotal                  $496,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Asimismo, el demandante reclamó un monto total de
   $165.600,00. En consecuencia, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $165.600,00.
161 SEDA RODRIGUEZ, GLORIA M              61912        El Estado Libre Asociado de       503(b)(9)                $100,800.00* El Estado Libre Asociado de          No Garantizada          $100,800.00*
    URB. JARDINES DE COUNTRY CLUB                      Puerto Rico                                                             Puerto Rico
    AQ-11 CALLE 38
    CAROLINA, PR 00983                                 El Estado Libre Asociado de       Garantizada              $100,800.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $201,600.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $100.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $100.800,00.
162 SERRANO QUINONES, MIGDONIA            86712        El Estado Libre Asociado de       503(b)(9)                  $3,640.00* El Estado Libre Asociado de          No Garantizada             $3,640.00*
    URB. ESTANCIAS DEL GOLF                            Puerto Rico                                                             Puerto Rico
    309 JUAN H. CINTRON
    PONCE, PR 00730                                    El Estado Libre Asociado de       Garantizada                $3,640.00*
                                                       Puerto Rico
                                                                                         Subtotal                   $7,280.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $3.640,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $3.640,00.

   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 51 de 57
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                                                                 Exhibit A Page 53 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
163 SOLANO DIAZ, MADELINE                 31354        El Estado Libre Asociado de       503(b)(9)              Indeterminado* El Estado Libre Asociado de          No Garantizada          $151,200.00*
    HC-61 BOX 4204                                     Puerto Rico                                                             Puerto Rico
    TRUJILLO ALTO, PR 00976
                                                       El Estado Libre Asociado de       Garantizada              $151,200.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada           $151,200.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $302,400.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $151.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $151.200,00.
164 SOSA RIVERA, CLARIBEL                 28694        El Estado Libre Asociado de       503(b)(9)                 $266,400.00 El Estado Libre Asociado de          No Garantizada           $266,400.00
    PO BOX 679                                         Puerto Rico                                                             Puerto Rico
    SAINT JUST, PR 00978
                                                       El Estado Libre Asociado de       Garantizada               $266,400.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $266,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $799,200.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $266.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $266.400,00.
165 SOSA RIVERA, CYNTHIA                  40755        El Estado Libre Asociado de       503(b)(9)                 $216,000.00 El Estado Libre Asociado de          No Garantizada           $216,000.00
    BOX 679                                            Puerto Rico                                                             Puerto Rico
    SAINT JUST, PR 00978
                                                       El Estado Libre Asociado de       Garantizada               $216,000.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $216,000.00
                                                       Puerto Rico
                                                                                         Subtotal                  $648,000.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $216.000,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $216.000,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 52 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
166 TORRES GONZALEZ, LUIS M               58022        El Estado Libre Asociado de       503(b)(9)                 $172,800.00 El Estado Libre Asociado de          No Garantizada           $172,800.00
    RR 3 BOX 4226                                      Puerto Rico                                                             Puerto Rico
    SAN JUAN, PR 00926
                                                       El Estado Libre Asociado de       Garantizada               $172,800.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $172,800.00
                                                       Puerto Rico
                                                                                         Subtotal                  $518,400.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $172.800,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $172.800,00.
167 TORRES RAMOS, MAYRA E                 25360        El Estado Libre Asociado de       503(b)(9)                 $151,200.00 El Estado Libre Asociado de          No Garantizada           $151,200.00
    73 CALLE NOBLE                                     Puerto Rico                                                             Puerto Rico
    SAN JUAN, PR 00926
                                                       El Estado Libre Asociado de       Garantizada               $151,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $151,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $453,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $151.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $151.200,00.
168 TRUJILLO PLUMEY, ROSAMAR              25818^       El Estado Libre Asociado de       503(b)(9)                 $69,346.20* El Estado Libre Asociado de          No Garantizada           $69,346.20*
    TIERRA DEL                                         Puerto Rico                                                             Puerto Rico
    SOL CALLE 1 APT 122
    HUMACAO, PR 00791                                  El Estado Libre Asociado de       Garantizada               $69,346.20*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $69,346.20*
                                                       Puerto Rico
                                                                                         Subtotal                 $208,038.60*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $69.346,20. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $69.346,20.
   ^ Reclamo n°. 25818 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 53 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
169 TRUJILLO PLUMEY, ROSAMAR              29473        El Estado Libre Asociado de       503(b)(9)                $151,200.00* El Estado Libre Asociado de          No Garantizada          $151,200.00*
    COND. TIERRA DEL SOL APT 122                       Puerto Rico                                                             Puerto Rico
    HUMACAO, PR 00791
                                                       El Estado Libre Asociado de       Garantizada              $151,200.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada           $151,200.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $453,600.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $151.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $151.200,00.
170 VARGAS GOIRE, VIRNALYS                82840        El Estado Libre Asociado de       503(b)(9)                $108,000.00* El Estado Libre Asociado de          No Garantizada          $108,000.00*
    436 NOGALES                                        Puerto Rico                                                             Puerto Rico
    ESTANCIAS DEL BOSQUE
    CIDRA, PR 00739                                    El Estado Libre Asociado de       Garantizada              $108,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $216,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $108.000,00. Por tal razón, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $108.000,00.
171 VARGAS GONZALEZ, MARIO                25960        El Estado Libre Asociado de       503(b)(9)              Indeterminado* El Estado Libre Asociado de          No Garantizada           $77,712.00*
    171 CALLE POST SUR                                 Puerto Rico                                                             Puerto Rico
    MAYAGÜEZ, PR 00680-4064
                                                       El Estado Libre Asociado de       Garantizada               $77,712.00*
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $77,712.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $155,424.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $77.712,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $77.712,00.




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 54 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
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                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
172 VAZQUEZ MOJICA, MARIA ISABEL          82968        El Estado Libre Asociado de       503(b)(9)                 $223,200.00 El Estado Libre Asociado de          No Garantizada           $223,200.00
    URB DORADO DEL MAR                                 Puerto Rico                                                             Puerto Rico
    HH 4 CALLE PELICANO
    DORADO, PR 00646                                   El Estado Libre Asociado de       Garantizada               $223,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $223,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $669,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Asimismo, el demandante reclamó un monto total de
   $223.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $223.200,00.
173 VAZQUEZ ROSA, ALMA D.                 119258       El Estado Libre Asociado de       503(b)(9)                $252,000.00* El Estado Libre Asociado de          No Garantizada          $252,000.00*
    VILLA PALMERAS                                     Puerto Rico                                                             Puerto Rico
    307 CALLE FERRER
    SANTURCE, PR 00915                                 El Estado Libre Asociado de       Garantizada              $252,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $504,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $252.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $252.000,00.
174 VEGA RIVERA, SANDRA I.                29082^       El Estado Libre Asociado de       503(b)(9)                 $37,164.83* El Estado Libre Asociado de          No Garantizada           $37,164.83*
    HC4 BOX 42619                                      Puerto Rico                                                             Puerto Rico
    AGUADILLA, PR 00603-9744
                                                       El Estado Libre Asociado de       Garantizada               $37,164.83*
                                                       Puerto Rico
                                                                                         Subtotal                  $74,329.66*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $37.164,83. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $37.164,83.
   ^ Reclamo n°. 29082 también incluido en el Anexo A a la Objeción Global n° 337 por reclamos clasificados erróneamente

175 VELAZQUEZ LEBRON, MIGUEL A.           42138        El Estado Libre Asociado de       503(b)(9)                  $80,400.00 El Estado Libre Asociado de          No Garantizada             $80,400.00
    RES. LAS CASAS EDIF. 33                            Puerto Rico                                                             Puerto Rico
    APT 390
    SAN JUAN, PR 00915                                 El Estado Libre Asociado de       Garantizada                $80,400.00
                                                       Puerto Rico
                                                                                         Subtotal                  $160,800.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $80.400,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $80.400,00.


   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 55 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                 Exhibit A Page 57 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
    NOMBRE                                N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
176 VELEZ CRESPO, EDUARDO                 27235^       El Estado Libre Asociado de       503(b)(9)                $180,000.00* El Estado Libre Asociado de          No Garantizada          $180,000.00*
    URB. CAPANA HEIGTH                                 Puerto Rico                                                             Puerto Rico
    1471 CALLE EDEN
    SAN JUAN, PR 00920                                 El Estado Libre Asociado de       Garantizada              $180,000.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $360,000.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $180.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no asegurado de $180.000,00.
   ^ Reclamo n°. 27235 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

177 VELEZ TORO, VICTOR                    27222^       El Estado Libre Asociado de       503(b)(9)                 $187,200.00 El Estado Libre Asociado de          No Garantizada           $187,200.00
    HC 1 BOX 7766                                      Puerto Rico                                                             Puerto Rico
    SAN GERMAN, PR 00683
                                                       El Estado Libre Asociado de       Garantizada               $187,200.00
                                                       Puerto Rico
                                                       El Estado Libre Asociado de       No Garantizada            $187,200.00
                                                       Puerto Rico
                                                                                         Subtotal                  $561,600.00

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $187.200,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $187.200,00.
   ^ Reclamo n°. 27222 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados

178 VICENTE MARQUEZ, JESUS                15027^       El Estado Libre Asociado de       503(b)(9)                 $93,600.00* El Estado Libre Asociado de          No Garantizada           $93,600.00*
    C/3 D-10                                           Puerto Rico                                                             Puerto Rico
    CASTELLANA GARDENS
    CAROLINA, PR 00983                                 El Estado Libre Asociado de       Garantizada               $93,600.00*
                                                       Puerto Rico
                                                                                         Subtotal                 $187,200.00*

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $93.600,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $93.600,00.
   ^ Reclamo n°. 15027 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 56 de 57
                                   Case:17-03283-LTS Doc#:17109-2 Filed:06/18/21 Entered:06/18/21 19:14:51                                                  Desc:
                                                                 Exhibit A Page 58 of 58
                                                   Tricentésima Cuadragésima Séptima Objeción Global
                                                          Anexo A: Reclamos a ser reclasificados
                                                                                     ALEGADOS                                                                 CORREGIDOS
   NOMBRE                                 N.º DE                  DEUDOR                 ESTADO DE             IMPORTE                       DEUDOR                 ESTADO DE            IMPORTE
                                          RECLAM                                         PRIORIDAD                                                                  PRIORIDAD
                                          ACIÓN
179 YARITZA SANTIAGO CARMONA Y            44611        El Estado Libre Asociado de       503(b)(9)                $150,000.00* El Estado Libre Asociado de          No Garantizada          $150,000.00*
   MIGUEL A. GONZALEZ ALVARADO                         Puerto Rico                                                             Puerto Rico
   YARITZA SANTIAGO CARMONA
   C/ SURANA RES. JARDINES CAMPO                       El Estado Libre Asociado de       Garantizada              $150,000.00*
   RICO                                                Puerto Rico
   EDIFICIO 4 APT. 52
                                                                                         Subtotal                 $300,000.00*
   SAN JUAN, PR 00924

   Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos, sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes vendidos
   y, por lo tanto, el demandante no tiene derecho ella. El demandante también omitió proporcionar pruebas evidentes para apoyar un reclamo asegurado. Además, el demandante reclamó un monto total de
   $150.000,00. Por tal motivo, el reclamo se reclasificó en su totalidad como un reclamo general no garantizado de $150.000,00.
                                                       TOTAL                                                  $ 55,256,732.56* TOTAL                                                     $ 20,817,489.83*




   * Indica que la reclamación contiene montos por liquidar o indeterminados
                                                                                                                                                                                     Página 57 de 57
